      Case 6:21-cv-00815-ADA Document 22 Filed 11/01/21 Page 1 of 10




                    UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                           WACO DIVISION


WAG ACQUISITION, L.L.C.,

                 Plaintiff,

     v.                                    Civil Action No. 6:21-cv-815-ADA
                                           Patent Case
AMAZON.COM, INC., AMAZON WEB
SERVICES, INC., and AMAZON.COM             Jury Trial Demanded
SERVICES LLC,

                 Defendants.



     ANSWER TO ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT
           Case 6:21-cv-00815-ADA Document 22 Filed 11/01/21 Page 2 of 10




       Defendants Amazon.com, Inc., Amazon Web Services, Inc. (“AWS”), and Amazon.com

Services LLC (collectively, “Amazon”) by and through their undersigned counsel, hereby answer

the complaint (the “complaint”) of plaintiff WAG Acquisition, L.L.C. (“Plaintiff” or “WAG”) as

follows:

                                       INTRODUCTION

       1.      Amazon denies that the patents-in-suit describe or disclose any improvement to the

process of delivering streaming media over the internet, or describe any other technological

improvement. Amazon lacks knowledge or information sufficient to admit or deny the remaining

allegations of paragraph 1 of the complaint and, on that basis, denies them.

       2.      Amazon admits that AWS provides the CloudFront CDN, AWS Elemental

MediaConvert, AWS Elemental MediaStore, and AWS Elemental MediaPackage services.

Amazon further admits that Amazon.com Services LLC provides video-on-demand and streaming

video through its Prime Video service. Amazon denies the remaining allegations of paragraph 2

of the complaint.

       3.      Amazon admits that WAG purports to allege an action for patent infringement.

Amazon denies that it infringes, or has infringed, any claim of the patents-in-suit.

                                         THE PARTIES

       4.      Amazon lacks knowledge or information sufficient to admit or deny the allegations

of paragraph 4 of the complaint and, on that basis, denies them.

       5.      Amazon admits that Amazon.com, Inc. is a Delaware corporation with its principal

place of business at 410 Terry Avenue North, Seattle, Washington 98109. Amazon denies the

remaining allegations of paragraph 5 of the complaint.




                                                 1
         Case 6:21-cv-00815-ADA Document 22 Filed 11/01/21 Page 3 of 10




       6.      Amazon admits that AWS is a Delaware corporation with its principal place of

business at 410 Terry Avenue North, Seattle, Washington 98109. Amazon further admits that

Amazon Web Services, Inc. is a wholly-owned subsidiary of Amazon.com, Inc. Amazon denies

the remaining allegations of paragraph 6 of the complaint.

       7.      Amazon admits that Amazon.com Services LLC is a Delaware limited liability

company with its principal place of business at 410 Terry Avenue North, Seattle, Washington

98109. Amazon further admits that Amazon.com Services LLC is a wholly-owned subsidiary of

Amazon.com, Inc. Amazon further admits that Amazon.com Services LLC maintains an office at

11501 Alterra Parkway, Austin, Texas 78757. Amazon denies the remaining allegations of

paragraph 7 of the complaint.

                                JURISDICTION AND VENUE

       8.      Amazon admits that WAG purports to allege an action for patent infringement

under the patent laws of the United States. Amazon further admits that the Court has subject matter

jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       9.      For purposes of this action only, Amazon admits that the Court has specific

personal jurisdiction over it. Amazon denies the remaining allegations of paragraph 9 of the

complaint.

       10.     Amazon admits that it provides products and services throughout the United States,

including within this judicial district. Amazon further admits that AWS and Amazon.com Services

LLC are registered with the Texas Secretary of State to do business in the State of Texas. Amazon

denies the remaining allegations of paragraph 10 of the complaint.

       11.     Amazon denies the allegations of paragraph 11 of the complaint.




                                                2
         Case 6:21-cv-00815-ADA Document 22 Filed 11/01/21 Page 4 of 10




                                   THE PATENTS-IN-SUIT

       12.     Amazon admits that U.S. Patent No. 9,742,824 (the “’824 patent”) lists “Streaming

Media Delivery System” as its title and August 22, 2017 as its issue date. Amazon admits that

WAG purports to attach a copy of the ’824 patent as Exhibit A to the complaint. Amazon admits

that U.S. Patent No. 9,729,594 (the “’594 patent”) lists “Streaming Media Delivery System” as its

title and August 8, 2017 as its issue date. Amazon admits that WAG purports to attach a copy of

the ’594 patent as Exhibit B to the complaint. Amazon admits that U.S. Patent No. 9,763,646 (the

“’636 patent”) lists “Streaming Media Delivery System” as its title and September 12, 2017 as its

issue date. Amazon admits that WAG purports to attach a copy of the ’636 patent as Exhibit C to

the complaint. Amazon lacks knowledge or information sufficient to admit or deny the remaining

allegations of paragraph 12 of the complaint and, on that basis, denies them.

       13.     Amazon lacks knowledge or information sufficient to admit or deny the allegations

of paragraph 13 of the complaint and, on that basis, denies them.

       14.     Amazon lacks knowledge or information sufficient to admit or deny the allegations

of paragraph 14 of the complaint and, on that basis, denies them.

       15.     Amazon denies the allegations of paragraph 15 of the complaint.

       16.     Amazon denies the allegations of paragraph 16 of the complaint.

       17.     Amazon denies the allegations of paragraph 17 of the complaint.

       18.     Amazon denies the allegations of paragraph 18 of the complaint.

       19.     Amazon denies the allegations of paragraph 19 of the complaint.

       20.     Amazon denies the allegations of paragraph 20 of the complaint.




                                                3
        Case 6:21-cv-00815-ADA Document 22 Filed 11/01/21 Page 5 of 10




             COUNT I: PURPORTED INFRINGEMENT OF THE 824 PATENT

       21.       Amazon incorporates and restates its responses to the allegations set forth in

paragraphs 1 through 20 of the complaint.

       22.       Amazon denies the allegations of paragraph 22 of the complaint.

       23.       Amazon denies the allegations of paragraph 23 of the complaint.

       24.       Amazon denies the allegations of paragraph 24 of the complaint.

       25.       Amazon admits that AWS allows users to provision virtual machines and provides

the CloudFront CDN, AWS Elemental MediaConvert, AWS Elemental MediaStore, and AWS

Elemental MediaPackage services. Amazon denies the remaining allegations of paragraph 25 of

the complaint.

       26.       Amazon denies the allegations of paragraph 26 of the complaint.

       27.       Amazon denies the allegations of paragraph 27 of the complaint.

       28.       Amazon denies the allegations of paragraph 28 of the complaint.

       29.       Amazon denies the allegations of paragraph 29 of the complaint.

       30.       Amazon denies the allegations of paragraph 30 of the complaint.

       31.       Amazon denies the allegations of paragraph 31 of the complaint.

       32.       Amazon denies the allegations of paragraph 32 of the complaint.

             COUNT II: PURPORTED INFRINGEMENT OF THE ’594 PATENT

       33.       Amazon incorporates and restates its responses to the allegations set forth in

paragraphs 1 through 32 of the complaint

       34.       Amazon denies the allegations of paragraph 34 of the complaint.

       35.       Amazon denies the allegations of paragraph 35 of the complaint.

       36.       Amazon denies the allegations of paragraph 36 of the complaint.




                                                 4
        Case 6:21-cv-00815-ADA Document 22 Filed 11/01/21 Page 6 of 10




       37.     Amazon denies the allegations of paragraph 37 of the complaint.

       38.     Amazon denies the allegations of paragraph 38 of the complaint.

       39.     Amazon denies the allegations of paragraph 39 of the complaint.

       40.     Amazon denies the allegations of paragraph 40 of the complaint.

       41.     Amazon denies the allegations of paragraph 41 of the complaint.

       42.     Amazon denies the allegations of paragraph 42 of the complaint.

          COUNT III: PURPORTED INFRINGEMENT OF THE ’636 PATENT

       43.     Amazon incorporates and restates its responses to the allegations set forth in

paragraphs 1 through 42 of the complaint.

       44.     Amazon denies the allegations of paragraph 44 of the complaint.

       45.     Amazon denies the allegations of paragraph 45 of the complaint.

       46.     Amazon denies the allegations of paragraph 46 of the complaint.

       47.     Amazon admits that AWS allows users to provision virtual machines and provides

the CloudFront CDN, AWS Elemental MediaConvert, AWS Elemental MediaStore, and AWS

Elemental MediaPackage services. Amazon admits that AWS Elemental MediaLive and AWS

Elemental MediaStore may be used for encoding of video, including live video streams. Amazon

further admits that CloudFront CDN may be used to deliver media. Amazon denies the remaining

allegations of paragraph 47 of the complaint.

       48.     Amazon denies the allegations of paragraph 48 of the complaint.

       49.     Amazon denies the allegations of paragraph 49 of the complaint.

       50.     Amazon denies the allegations of paragraph 50 of the complaint.

       51.     Amazon denies the allegations of paragraph 51 of the complaint.

       52.     Amazon denies the allegations of paragraph 52 of the complaint.




                                                5
          Case 6:21-cv-00815-ADA Document 22 Filed 11/01/21 Page 7 of 10




         53.    Amazon denies the allegations of paragraph 53 of the complaint.

                                   DEMAND FOR JURY TRIAL

         WAG’s demand for a jury trial does not require a response.

                                      PRAYER FOR RELIEF

         Amazon denies that WAG is entitled to any of the relief requested in the complaint or any

relief whatsoever. Amazon denies all allegations in the complaint that are not specifically admitted

in paragraphs 1-53 above.

                                    ADDITIONAL DEFENSES

         Amazon asserts the following additional defenses to the complaint. In doing so, Amazon

does not assume any burden of proof on any issue that is WAG’s burden as a matter of law.

Amazon also reserves the right to amend or supplement these defenses as additional facts become

known.

                     FIRST DEFENSE: FAILURE TO STATE A CLAIM

         The complaint fails to allege facts sufficient to state a cause of action upon which relief

may be granted.

                SECOND DEFENSE: NON-INFRINGEMENT (’824 PATENT)

         Amazon has not infringed, and does not infringe, any valid claim of the ’824 patent and is

not liable for any infringement.

                       THIRD DEFENSE: INVALIDITY (’824 PATENT)

         The asserted claims of the ’824 Patent are each invalid for failure to comply with one or

more of the conditions and requirements of the patent laws, including, but not limited to 35

U.S.C. §§ 101, 102, 103, and/or 112.

                FOURTH DEFENSE: NON-INFRINGEMENT (’594 PATENT)

         Amazon has not infringed, and currently does not infringe, any valid claim of the ’594


                                                   6
           Case 6:21-cv-00815-ADA Document 22 Filed 11/01/21 Page 8 of 10




patent and is not liable for any infringement.

                      FIFTH DEFENSE: INVALIDITY (’594 PATENT)

       The asserted claims of the ’594 Patent are each invalid for failure to comply with one or

more of the conditions and requirements of the patent laws, including, but not limited to 35

U.S.C. §§ 101, 102, 103, and/or 112.

                SIXTH DEFENSE: NON-INFRINGEMENT (’636 PATENT)

       Amazon has not infringed, and currently does not infringe, any valid claim of the ’636

patent and is not liable for any infringement.

                   SEVENTH DEFENSE: INVALIDITY (’636 PATENT)

       The asserted claims of the ’636 Patent are each invalid for failure to comply with one or

more of the conditions and requirements of the patent laws, including, but not limited to 35

U.S.C. §§ 101, 102, 103, and/or 112.

                              TENTH DEFENSE: GOOD FAITH

       Amazon has engaged in all relevant activities in good faith, thereby precluding WAG, even

if it prevails, from recovering its reasonable attorneys’ fees or costs under 35 U.S.C. § 285.

                             ELEVENTH DEFENSE: ESTOPPEL

       The relief sought by WAG is barred, in whole or in part, under the doctrine of prosecution

history estoppel due to amendments and/or statements made during prosecution of the ’824 patent,

the ’594 patent, and/or the ’636 patent.

                 TWELFTH DEFENSE: DEDICATION TO THE PUBLIC

       The relief sought by WAG is barred, in whole or in part, because WAG dedicated to the

public all methods, systems, and products disclosed in the patents-in-suit but not literally claimed

therein.




                                                 7
            Case 6:21-cv-00815-ADA Document 22 Filed 11/01/21 Page 9 of 10




            THIRTEENTH DEFENSE: LIMITATION ON DAMAGES AND COSTS

       WAG’s claim for damages is barred, in whole or in part, by 35 U.S.C. §§ 286 or 287. To

the extent any claim of the patents-in-suit is invalid, WAG is barred from recovering costs by 35

U.S.C. § 288.

                       RESERVATION OF ADDITIONAL DEFENSES

       Amazon reserves the right to assert additional defenses in the event that discovery or

other analysis indicates that additional defenses are appropriate.

                                    PRAYER FOR RELIEF

       WHEREFORE, Amazon prays for judgment with respect to WAG’s complaint and

Amazon’s defenses as follows:

       a.       A judgment in favor of Amazon denying WAG all relief requested in its complaint

and dismissing its complaint with prejudice;

       b.       A judgment against WAG finding that Amazon has not infringed, does not infringe,

and is not liable for any infringement of any valid and enforceable claim of the ’824 patent, the

’594 patent, and the ’636 patent.

       c.       A judgment against WAG finding that one or more claims of the ’824 patent are

invalid;

       d.       A judgment against WAG finding that one or more claims of the ’594 patent are

invalid;

       e.       A judgment against WAG finding that one or more claims of the ’636 patent are

invalid;

       f.       A judgment that this is an exceptional case within the meaning of 35 U.S.C. § 285

and awarding Amazon its reasonable attorneys’ fees;

       g.       An award of costs to Amazon; and


                                                 8
       Case 6:21-cv-00815-ADA Document 22 Filed 11/01/21 Page 10 of 10




      h.       Such other relief as the Court shall deem just and proper.

                                DEMAND FOR JURY TRIAL

      Amazon hereby requests a trial by jury on all issues so triable including specifically on

WAG’s claims and Amazon’s defenses thereto.



 Dated: November 1, 2021                        Respectfully submitted,


                                                By: /s/ J. David Hadden
                                                J. David Hadden (CA Bar No. 176148)
 Of Counsel:                                    Email: dhadden@fenwick.com
                                                Saina S. Shamilov (CA Bar No. 215636)
 Barry K. Shelton (TX Bar #24055029)            Email: sshamilov@fenwick.com
 bshelton@sheltoncoburn.com                     Ravi R. Ranganath (CA Bar No. 272981)
 SHELTON COBURN LLP                             Email: rranganath@fenwick.com
 311 RR 620 S, Suite 205                        FENWICK & WEST LLP
 Austin, TX 78734                               Silicon Valley Center
 Tel: (512) 263-2165                            801 California Street
 Fax: (512) 263-2166                            Mountain View, CA 94041
                                                Telephone: (650) 988-8500
 Deron R. Dacus (TX Bar #00790553)              Facsimile: (650) 938-5200
 ddacus@dacusfirm.com
 THE DACUS FIRM, P.C.
 821 ESE Loop 323, Suite 430                    Counsel for Defendants
 Tyler, TX 75701                                AMAZON.COM, INC., AMAZON WEB
 Tel: (903) 705-1117                            SERVICES, INC., AND AMAZON.COM
 Fax: (903) 581-2543                            SERVICES LLC




                                                9
